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Pro Se 2 (Rev. 12/16) Complaint and Request for Injunction



                                        UNITED STATES DISTRICT COURT
                                                                         for the
                                                             Central District of California                           OCT 31, 2024
                                                                __________ Division                                            PD




                                                                           )
                           xiaoxiaozhou                                             Case No.   2:24-cv-09453-WLH (SKx)
                                                                           )
                                                                           )                   (to be filled in by the Clerk’s Office)

                                                                           )
                              Plaintiff(s)
(Write the full name of each plaintiff who is filing this complaint.       )                             IFP SUBMITTED
If the names of all the plaintiffs cannot fit in the space above,
please write “see attached” in the space and attach an additional
                                                                           )                                    NO CV-30
                                                                           )
page with the full list of names.)
                                                                           )
                                  -v-
                                                                           )
                           BINANCE.US                                      )
                                                                           )
                                                                           )
                                                                           )
                              Defendant(s)
(Write the full name of each defendant who is being sued. If the
                                                                           )
names of all the defendants cannot fit in the space above, please          )
write “see attached” in the space and attach an additional page
with the full list of names.)



                                    COMPLAINT AND REQUEST FOR INJUNCTION

I.        The Parties to This Complaint
          A.         The Plaintiff(s)

                     Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                     needed.
                                Name                                   XIAOXIAOZHOU
                                Street Address                         903H BLK SUIYUAN XIAOQU GZ TIANHE TIANYANG R GUANGD
                                City and County                        GUANGZHOU GUANGDONG CHINA
                                State and Zip Code                     GZ 510635
                                Telephone Number                       +8613714998182
                                E-mail Address                         xiazhou891@gmail.com


          B.         The Defendant(s)

                     Provide the information below for each defendant named in the complaint, whether the defendant is an
                     individual, a government agency, an organization, or a corporation. For an individual defendant,
                     include the person's job or title (if known). Attach additional pages if needed.
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                     Defendant No. 1
                                Name                               Binance.us
                                Job or Title (if known)
                                Street Address                     252 NW 29th Miami Street,9th Floor,Suite 905 OR California
                                City and County                    Miami USA
                                State and Zip Code                 FL 33127
                                Telephone Number
                                E-mail Address (if known)


                     Defendant No. 2
                                Name
                                Job or Title (if known)
                                Street Address
                                City and County
                                State and Zip Code
                                Telephone Number
                                E-mail Address (if known)


                     Defendant No. 3
                                Name
                                Job or Title (if known)
                                Street Address
                                City and County
                                State and Zip Code
                                Telephone Number
                                E-mail Address (if known)


                     Defendant No. 4
                                Name
                                Job or Title (if known)
                                Street Address
                                City and County
                                State and Zip Code
                                Telephone Number
                                E-mail Address (if known)



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                                b.         If the defendant is a corporation
                                           The defendant, (name) BINANCE.US                                    , is incorporated under
                                           the laws of the State of (name) Florida OR California                          , and has its
                                           principal place of business in the State of (name) USA,It is the shadow of Binance with .
                                           Or is incorporated under the laws of (foreign nation) BINANCE operates through an ind ,
                                           and has its principal place of business in (name)   California,Washington,Florida......        .

                                (If more than one defendant is named in the complaint, attach an additional page providing the
                                same information for each additional defendant.)

                     3.         The Amount in Controversy

                                The amount in controversy–the amount the plaintiff claims the defendant owes or the amount at
                                stake–is more than $75,000, not counting interest and costs of court, because (explain):
                                 1:Because of BINANCE's fraud, robbery, extortion, and money laundering using accounts
                                 without KYC, I lost all my savings and missed trading losses.
                                 2:BINANCE is not regulated, and BINANCE.US is equivalent to BINANCE



III.      Statement of Claim

          Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
          facts showing that each plaintiff is entitled to the injunction or other relief sought. State how each defendant
          was involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights,
          including the dates and places of that involvement or conduct. If more than one claim is asserted, number each
          claim and write a short and plain statement of each claim in a separate paragraph. Attach additional pages if
          needed.

          A.         Where did the events giving rise to your claim(s) occur?
                      My case is that BINANCE has carried out extortion and robbery against me under the guise of
                      blockchain. BINANCE is maintained on Amazon Web Services (AWS) servers located in Washington
                      State. These servers serve as the image heart of BINANCE. BINANCE is unregulated, and the
                      existence of BINANCE.US is equivalent to the only existence that can be found after BINANCE splits off.




          B.         What date and approximate time did the events giving rise to your claim(s) occur?
                      In the summer of 2021, because BINANCE has always been invisible, unregulated, and unethical, I can
                      only make a tiny voice on Twitter.Until today, I realized that BINANCE.US is just a cover for BINANCE.




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          C.         What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?
                     Was anyone else involved? Who else saw what happened?)
                      1Binance told me the thief was willing to compensate me for my loss ;2Binance told me that based on a
                      hash value, my stolen amount is worth 0.97bnb,Blackmail;3 I do not agree with this compensation,
                      Binance manipulated it to take it back; 4 The technician later told me that the amount of funds
                      transferred to Binance was much greater than 0.97bnb ;5 Binance recently cancelled my Binance
                      account ;6 The thief only has a photo and no other identity information,No KYC,The registered place is
                      Nigeria,BINANCE even asked me to go to the Nigerian court ;7 Another founder of Binance Yihe
                      recently revealed on Twitter that there was only 0.98bnb left in the account, so I dug out2
                      8 The police asked me to sue them in court, but I didn't know where to go. 9 YIHE set up a kind persona
                      in the letter to the judge and mentioned that such cases are not regulated. 10 I filed a lawsuit in the the
                      Western District of Washington, but at the time, Chang Pengzhang was in a California prison.Now he is
                      back in Dubai, but as the founder of BINANCE, he is the largest shareholder of BINANCE.US，Due to

IV.       Irreparable Injury

          Explain why monetary damages at a later time would not adequately compensate you for the injuries you
          sustained, are sustaining, or will sustain as a result of the events described above, or why such compensation
          could not be measured.
          Over the years, BINANCE and CHANGPENGZHAO have tried every possible means to evade regulation, win
          over public opinion, and choose to turn a blind eye to the weak voices. Because BINANCE is not regulated, it has
          flouted the law, persecuted, robbed, and defrauded the weak. At the age of 38, I was robbed of everything by
          BINANCE, who was wearing the cloak of blockchain. BINANCE had no intention of returning the money or
          admitting its mistakes. I should have become a mother that year, but I do not only miss out on the next trading
          opportunity and profit , In the past few years, I have experienced the epidemic blockade, economic crisis,
          deflation, inflation, age discrimination, and a wave of unemployment,PTSD, Enduring great pressure
          alone.Depression and neurasthenia tortured me. And now my age and condition make it impossible for me to
          become a mother




V.        Relief

          State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
          arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
          the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
          punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
          punitive money damages.
          1BINANCE /BINANCE.US extortion, fraud and robbery caused me to miss out on trading losses,If there is no
         extortion, fraud and robbery by BINANCE, I will reap this profit in the winter of 2021
         305827625(raca)*¥0.07481359=¥22880062=$3135467
         374168631(floki)*¥0.00248601=¥930186.958=$131219
         Matrix plus Box #787 #607 $80000*2=$160000
         My trading loss $3426686
         2: An award of statutory costs; Any other relief that the court deems just and proper.




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VI.       Certification and Closing

          Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
          and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
          unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
          nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
          evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
          opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
          requirements of Rule 11.

          A.         For Parties Without an Attorney

                     I agree to provide the Clerk¶s Office with any changes to my address where case±related papers may be
                     served. I understand that my failure to keep a current address on file with the Clerk¶s Office may result
                     in the dismissal of my case.

                     Date of signing:                        11/01/2024


                     Signature of Plaintiff                   xiaoxiao zhou
                     Printed Name of Plaintiff                xiaoxiao zhou


          B.         For Attorneys

                     Date of signing:


                     Signature of Attorney
                     Printed Name of Attorney
                     Bar Number
                     Name of Law Firm
                     Street Address
                     State and Zip Code
                     Telephone Number
                     E-mail Address




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